           Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 1 of 8




                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

INTEGRATED TECHNOLOGY
SOLUTIONS LLC,
   Plaintiff,

   v.                                                  Civil Action No.: 1:21-cv-11477-IT

iRACING.COM MOTORSPORT
SIMULATIONS, LLC,
  Defendant.

                  NOTICE OF TELEPHONIC SCHEDULING CONFERENCE
                                 IN A PATENT CASE
                                   October 22, 2021

        In accordance with Fed. R. Civ. P. 16(b) and Local Rules 16.1 (as modified by this

order), an initial scheduling conference will be held on December 17, 2021, at 2:45

p.m. Because of the Coronavirus public health emergency, the scheduling conference

will be held by video or may be cancelled if the court determines a Scheduling

Conference is not necessary.

        The court considers attendance of lawyers ultimately responsible for the case to

be of the utmost importance. Counsel for the plaintiff(s) is responsible for ensuring that

all parties and/or their attorneys who have not filed an answer or appearance with the

court are notified of the date of the scheduling conference.

        The court expects compliance with sections (b), (c), and (d) of L.R. 16.1 and L.R.

16.6 (for patent cases) as modified below:
          Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 2 of 8




1.   Scheduling Order: In most cases, the court will issue a scheduling order at the
     conference in the form attached hereto. The court may depart from the form in
     cases of relative complexity or simplicity or otherwise if justice so requires. The
     parties should attempt to agree on the relevant dates for discovery and motion
     practice. In a case of ordinary complexity, the parties should propose a schedule
     that calls for the completion of fact discovery, expert discovery, and motion
     practice less than one calendar year from the date of the scheduling conference.
     The dates of the status conference and pretrial conference will be set by the court.


2.   Settlement Proposals: Each defendant shall present to the plaintiff(s) a written
     response to the plaintiff(s)= settlement proposal(s) no later than seven days prior
     to the scheduling conference.

3.   Initial Disclosures: In addition to the information required by Fed.R.Civ.P.
     26(a)(1) and L.R. 26.2, initial disclosures shall include:

     a.      Sworn statements disclosing the information set forth in L.R. 26.1(B)(1)(b)-
             (d) and (2)(a)-(c);

     b.      A copy of, or a description by category and location of, all documents,
             data compilations, and tangible things in the possession, custody, or
             control of the party with substantial relevance to disputed facts alleged
             with particularity in the pleadings.

4.   Joint Statement: The parties= joint statement shall contain the information set
     forth at L.R. 16.1(d). In addition, the joint statement shall list all pending motions
     and shall also identify any matters that need to be discussed at the scheduling
     conference. If no matters are so identified, the court is likely to issue a Scheduling
     Order based on the parties’ Joint Statement and cancel the scheduling conference.

5.   Reassignment to a Magistrate Judge: The parties’ joint statement shall indicate
     whether all parties consent to reassignment of the case to a magistrate judge for
     all purposes. If all parties consent, the parties should also jointly file a completed


                                           -2-
           Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 3 of 8




        “Consent/Refusal of Magistrate Judge Jurisdiction” form available at
        http://www.mad.uscourts.gov/resources/forms-local.htm.




6.      Proposed Orders: Any proposed orders, such as Proposed Protective Orders,
        shall be docketed separately as an exhibit to a Motion for Proposed Order.




                                                 Indira Talwani
                                                 United States District Judge

                                            By: /s/Gail A. MacDonald Marchione
Date:         October 22, 2021                  Courtroom Deputy Clerk




                                           -3-
Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 4 of 8
                Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 5 of 8




                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS

____________________                              *
                                                  *
                   Plaintiff,                     *
                                                  *
      v.                                          *       Civil Action No. ____________________
____________________                              *
                                                  *
                   Defendant.                     *


                                         SCHEDULING ORDER

TALWANI, D.J.

         This Scheduling Order is intended to provide a reasonable timetable for discovery and
claim construction in order to help ensure a fair and just resolution of this matter without undue
expense or delay. All obligations set forth in Local Rule 16.6 shall apply, with specific deadlines
as set forth below.

Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rules 16.1(f) and
16.6, it is hereby ORDERED that:

Preliminary Disclosures

      A.        Initial Disclosures. Initial disclosures required by Federal Rules of Civil Procedure
                26(a) and Local Rule 26.2(a) shall be served by ___________.

      B.        Automatic Patent-Related Disclosures.

           1.      Patentee’s Preliminary Patent-Related Disclosures. Disclosures required
                   under Local Rule 16.6(d)(1) shall be served by ______________.

           2.      Conference Concerning Preliminary Patent Disclosures. The conference
                   required by Local Rule 16.6(d)(2) shall occur no later than _______________.

           3.      Accused Infringer’s Preliminary Production of Technical Documents,
                   Source Code, and Samples of Accused Products. Disclosures required under
                   Local Rule 16.6(d)(4) shall be served by __________________.

II.        Claim-Construction Proceedings.

      A.        Joint Statement.

       1.          The list of claim terms to be construed and their proposed constructions required

                                                      5
               Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 6 of 8




                  under Local Rule 16.6(e)(1)(A) shall be exchanged by ______________.
        2.        The conference required under Local Rule 16.6(e)(1)(B) shall occur no later than
                  _____________. 1
        3.        The joint statement required under Local Rule 16.6(e)(1)(D) shall be filed no
                  later than __________. No more than 10 claim terms shall be submitted for
                  construction unless leave to do so is granted pursuant to Local Rule
                  16.6(e)(1)(C). The joint statement shall prioritize the disputed terms in order of
                  importance. In addition, the joint statement shall note the anticipated length of
                  time necessary for the claim-construction hearing and whether any party
                  proposes to call witnesses, including a statement that such extrinsic evidence
                  does not conflict with intrinsic evidence. The joint statement shall also include a
                  proposed order in which parties will present their arguments at the claim-
                  construction hearing, which may be term-by-term or party-by-party, depending
                  on the issues in the case.
       B.      Opening Claim-Construction Briefs. Not later than _________, the parties shall
               simultaneously exchange and file opening claim-construction briefs required under
               Local Rule 16.6(e)(2).

       C.      Responsive Briefs. Not later than __________, the parties shall simultaneously
               exchange and file responsive briefs required under Local Rule 16.6(e)(4).

       D.      Markman Hearing. The claim-construction hearing will be held on ____________.

       E.      Post-Claim-Construction Status Conference. Within fourteen days after the
               court’s claim-construction ruling, the parties shall file a joint statement addressing
               the issues listed in Local Rule 16.6(c)(3) and stating whether a status conference
               would be beneficial.

III.        Other Scheduling Provisions.

       A.      Amendments to Pleadings. Except for good cause shown, no motions seeking leave
               to add new parties or to amend the pleadings to assert new claims or defenses may
               be filed after _________.

       B.      Fact Discovery.

               1. All requests for production of documents and interrogatories must be served by
                  ________.
               2. All requests for admission must be served by _______.
               3. All depositions, other than expert depositions, must be completed by ______.


1
  If the parties are unable to agree upon the terms to be construed, the parties shall include those
terms they agree upon and may include additional terms pursuant to the following equation:
additional terms ≤ 0.5 (10 – number of agreed-upon terms).
                                                     6
           Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 7 of 8




           4. All discovery, other than expert discovery, must be completed by _________.

    C.     Obligation to Supplement. Supplemental disclosures under Rule 26(e) shall be
           made promptly after the receipt of information by the party or counsel and, in any
           event, no later than the completion of fact discovery, unless good reason can be
           shown for why such information was not available.

    D.     Close of Fact Discovery Status Conference. A status conference will be held on
           ____ at ___ a.m./p.m.

    E.     Expert Discovery.

           1. Opening expert reports regarding issues as to which a party bears the burden
              shall be filed no later than _________.
           2. Rebuttal expert reports shall be filed no later _________.
           3. All expert discovery, including expert depositions, must be completed by
              __________. The parties shall meet and confer regarding the timing of the
              depositions.

    F. Dispositive Motions. Dispositive motions, such as motions for summary judgment or
       partial summary judgment and motions for judgment on the pleadings, must be filed by
       ______.


                                     Procedural Provisions

Extension of Deadlines. Motions to extend or modify deadlines will be granted only for good
cause shown. All motions to extend shall contain a brief statement of the reasons for the
request; a summary of the discovery, if any, that remains to be taken; and a specific date when
the requesting party expects to complete the additional discovery, join other parties, amend the
pleadings, or file a motion.

Motions to Compel or Prevent Discovery. Except for good cause shown, motions to compel
discovery, motions for protective orders, motions to quash, motions to strike discovery
responses, and similar motions must be filed no later than seven days after the close of fact
discovery or the close of expert discovery, whichever deadline is relevant. If additional
discovery is compelled by the court after the relevant deadline has passed, the court may enter
such additional orders relating to discovery as may be appropriate.

Status Conferences. Any party who reasonably believes that a status conference will assist in
the management or resolution of the case may request one from the court upon reasonable
notice to opposing counsel.

Early Resolution of Issues. The court recognizes that, in some cases, resolution of one or more
preliminary issues may remove a significant impediment to settlement or otherwise expedite
resolution of the case. Counsel are encouraged to confer and jointly advise the court of any such
issues.

                                                 7
           Case 1:21-cv-11477-IT Document 11 Filed 10/22/21 Page 8 of 8




Pretrial Conference. Lead trial counsel are required to attend any pretrial conference.

Discovery Disputes. In the event counsel encounter a discovery dispute, they are encouraged to
request a hearing or telephone conference with the court before filing a discovery motion.

Date:                                                 /s/ EXAMPLE
                                                      EXAMPLE




                                                8
